                      UNITED STATES DISTRICT COURT
                                                   for the
                                       EASTERN DISTRICT OF NEW YORK


                      Orbin Zaldivar
                                                                     )
                           Plaintiff                                 )
                                                                     )
                              v.                                     )
                                                                     )   Civil Action No. 2:23-CvV-01434
                                                                     )
JANL, Inc. d/b/a Sergio’s Pizzeria & Restaurant, Sergio
                                                                     )
 Olivero, Severina Olivero and Luciano Olivero a/k/a
                                                                     )
                    Louis Olivero,
                                                                     )
                          Defendant


                                         AFFIDAVIT OF SERVICE


I, Roy Beierlein, being duly sworn, state:

The undersigned being duly sworn, deposes and says: Roy Beierlein is not a party to the action, is over 18
years of age and resides at 281 Brown Street, Mineola, NY 11501.

I served the following documents on Sergio Olivero in Nassau County, NY on July 15, 2023 at 12:56 pm at
207 Frost Pond Road, Glen Cove, NY 11542 by posting the documents in a conspicuous place at the
premises. First class mailing was completed on July 16, 2023 by depositing the above listed documents in a
USPS Mailbox in an envelope marked personal and confidential.

Complaint
Sergio Olivero Summons
Severina Olivero Summons

Additional Description:
No answer at door. 2 cars observed in driveway, same as on prior attempts. Proof manager confirmed correct
address. Have posted documents in plain site on front door.

Geolocation of Serve: https://google.com/maps?q=40.8537268,-73.6041651

I DECLARE UNDER PENALTY OF PERJURY THAT THE FACTS HEREIN ARE TRUE AND
CORRECT.




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Executed in
                                                         /s/ Roy Beierlein
   Nassau County                                   ,     Signature
                                                         Roy Beierlein
   NY         on    7/17/2023               .            +1 (917) 334-2096


Below are my previous attempts at serving Sergio Olivero:

Date / Time: July 10, 2023 6:03 pm
Address: 207 Frost Pond Road, Glen Cove, NY 11542
Geolocation: https://google.com/maps?q=40.8536131,-73.6077106
Description: A young woman answered the door. Identified herself as Alyssa Rudman. Early 20s, brown
straight hair, about 5'5 , 135 lbs. She claimed that this was her boyfriend's residence. However, boyfriend was
not home. She could not confirm or deny if Severina or Sergio resided at the residence. I observed all the
shades and blinds drawn down on every window. 3 vehicles were in the driveway (pics attached). She
claimed no-one else was home and she was not sure who either of the subjects were or who else lived in the
house.

Date / Time: July 11, 2023 5:50 pm
Address: 207 Frost Pond Road, Glen Cove, NY 11542
Geolocation: https://google.com/maps?q=40.8533132,-73.6074392
Description: No answer at door on this attempt. Only 1 car visible in driveway.

Date / Time: July 13, 2023 9:45 am
Address: 207 Frost Pond Road, Glen Cove, NY 11542
Geolocation: https://google.com/maps?q=40.8534106,-73.6073537
Description: Same 2 cars in driveway as in all attempts. Mercedes and Jeep. (Pics attached) . No answer at
door. Given it was morning I allowed extra time for someone to gather themselves and answer door. All
blinds were pulled down. No movement or "peeking" observed.




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